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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CHARLES WASHINGTON                               :
6399 P.O. Box                                    :
Philadelphia, Pennsylvania 19139,                :    Case No. _______________
                                                 :
                 Plaintiff,                      :
                                                 :
       v.                                        :
                                                 :
MORRISON HEALTHCARE, INC.                        :
400 Northridge Road, Suite 600                   :
Atlanta, Georgia 30350,                          :
                                                 :
                 Defendant.                      :
                                     NOTICE OF REMOVAL

        Defendant Morrison Management Specialists, Inc. (“Morrison”) 1 hereby files this Notice

 of Removal of this action to the United States District Court for the Eastern District of

 Pennsylvania from the Court of Common Pleas, Philadelphia County, Pennsylvania, pursuant to

 28 U.S.C. §§ 1441 and 1332, and in support thereof, states as follows:


 I.     PROCESS, PLEADINGS, AND ORDERS

        1.        Plaintiff Charles Washington (“Plaintiff”) commenced this action on January 20,

 2021 by filing a Complaint in the Court of Common Pleas, Philadelphia County, Pennsylvania,

 captioned Charles Washington v. Morrison Health Care, Inc., docketed at No. 200801757 (the

 “State Court Action”). A true and correct copy of the Complaint Plaintiff filed is attached hereto

 at Exhibit A.

        2.        Plaintiff notified Morrison of the Complaint via email on January 20, 2021.



 1 Morrison Healthcare, Inc. is an improper defendant. The proper defendant is Morrison
 Management Specialists, Inc. Morrison Management Specialists, Inc. proceeds as if it was the
 properly named defendant.
             Case 2:21-cv-00335-KSM Document 1 Filed 01/25/21 Page 4 of 28



        3.       The State Court Action purports to state claims of discrimination, harassment, and

other workplace related conduct. The State Court Action also seemingly purports to state a claim

related to Morrison’s alleged improper reliance on Plaintiff’s background check

        4.       Pursuant to 28 U.S.C. § 1446(a), the attached Exhibit A constitutes all process,

pleadings, and orders served upon Morrison or filed or received in this action by Morrison.

II.     VENUE

        5.       Pursuant to 28 U.S.C. §§ 118(a), 1441(a), and 1446(a), Morrison may remove the

State Court Action only to the United States District Court for the Eastern District of Pennsylvania

because Plaintiff filed the State Court Action, and the State Court Action currently is pending, in

the Court of Common Pleas of Philadelphia County, Pennsylvania. See 28 U.S.C. § 118(a) (“The

Eastern District comprises the count[y] of . . . Philadelphia”); 28 U.S.C. § 1441(a) (“. . . any civil

action brought in a State court of which the district courts of the United States have original

jurisdiction, may be removed by the defendant or the defendants, to the district court of the United

States for the district and division embracing the place where such action is pending.”); 28 U.S.C.

§ 1446(a) (“A defendant or defendants desiring to remove any civil action from a State court shall

file in the district court of the United States for the district and division within which such action

is pending a notice of removal . . .”).

III.    FEDERAL JURISDICTION

        9.       Under 28 U.S.C. § 1332, federal courts have original jurisdiction over actions in

which the matter in controversy exceeds $75,000, exclusive of interest and costs, and is between

citizens of different states.

        10.      For diversity purposes, an individual is a citizen of the state in which they are

domiciled with the intent to remain. See Eckerberg v. Inter-State Studio & Publ'g Co., 860 F.3d

1079, 1085 (8th Cir. 2017). To be domiciled in a state, a person must reside there and intend to



                                                  2
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remain indefinitely. See Yeldell v. Tutt, 913 F.2d 533, 537 (8th Cir. 1990). A person may only

have one domicile and may be a citizen of only one state for diversity jurisdiction purposes. See

Williamson v. Osenton, 232 U.S. 619, 625 (1914).

       11.     In his Complaint, Washington states that he resides in Philadelphia, Pennsylvania.

It further appears from his Complaint that he intends to continue to make Pennsylvania his primary

residence for the indefinite future.    (Compl., ⁋ 3).    Therefore, Washington is a citizen of

Philadelphia for purposes of 28 U.S.C. § 1332.

       12.     For purposes of diversity jurisdiction, a corporation is deemed to be a citizen of the

state in which it was incorporated and the state where it has its principal place of business. 28

U.S.C. § 1332(c)(1). A corporation’s principal place of business is its “nerve center” – the place

“where a corporation’s officers direct, control, and coordinate the corporation’s activities.” Hertz

Corp. v. Friend, 130 S. Ct. 1181, 1192 (2010).

       13.     Morrison is incorporated in the State of Georgia, and its principal place of business

and headquarters are located in Atlanta, Georgia. Accordingly, Morrison is a citizen of Georgia,

not Pennsylvania, for diversity purposes. See 28 U.S.C. §§ 1332(a)(1), (c)(1).

       14.     Because the parties are citizens of different states, they are diverse for purposes of

diversity jurisdiction. See 28 U.S.C. § 1332

       15.     Pursuant to 28 U.S.C. § 1446(c), Morrison need only establish by a preponderance

of evidence that the amount in controversy exceeds the $75,000 jurisdictional requirement.

       16.     Where removal is based on diversity of citizenship and the initial pleading seeks a

money judgment, but does not demand a specific sum, “the notice of removal may assert the

amount in controversy,” and a removing defendant need only establish that it is more likely than




                                                 3
            Case 2:21-cv-00335-KSM Document 1 Filed 01/25/21 Page 6 of 28



not that the amount in controversy exceeds the jurisdictional minimum of $75,000. See 28 U.S.C.

§ 1446(c)(2)(A).

       17.      Washington’s Complaint seeks damages in excess of $50,000 for all damages

suffered, punitive damages, reasonable attorney’s fees and costs, declaratory judgment, equitable

relief, plus such other relief as this Court deems just and proper, but does not provide a limit on

the amount of damages he is seeking. (Compl. WHEREFORE clause).

       18.      According to a reasonable reading of the Complaint, the amount in controversy is

in excess of $75,000. See Angus v. Shiley, Inc., 989 F.2d 142, 146 (3d Cir. 1993) (where plaintiff

does not set a limit for damages, the court should make a reasonable reading of the value of the

claim that plaintiff has asserted and come to an independent valuation of the amount plaintiff has

claimed).

       19.      Thus, for jurisdictional purposes, Morrison may remove this action notwithstanding

Washington’s failure to state precisely an amount of damages exceeding the requisite amount in

controversy. Id.

       20.      Although Morrison denies the validity and merit of Washington’s claims and

allegations, and denies that he is entitled to any relief, his damages claim – for lost wages and

benefits, emotional distress/mental anguish, compensatory relief, reasonable attorney’s fees,

equitable relief, court costs, with interest as provided by law, and such other and further relief as

the Court deems just and equitable – establishes an amount in controversy in excess of the

jurisdictional minimum of $75,000. (Compl., WHEREFORE clause).

       21.      By reason of the foregoing and pursuant to 28 U.S.C. §§ 1441(b) and (c), Morrison

desires and is entitled to have this case removed to the United States District Court for the Eastern

District of Pennsylvania.




                                                 4
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 IV.    COMPLIANCE WITH PROCEDURAL REQUIREMENTS

        21.     This Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b)(3), as it is

 being filed on January 25, 2021, which is within thirty days of Morrison’s receipt of the Complaint.

        22.     In accordance with 28 U.S.C. § 1446(d), Morrison has filed this Notice with this

 Court, is serving a copy of this Notice upon counsel for Plaintiff, and is filing a copy of this Notice

 in the Court of Common Pleas of Philadelphia County.

        23.     Morrison reserves the right to submit further evidence supporting this Notice

 should Plaintiff move to remand.

        WHEREFORE, Morrison respectfully requests that this case be removed to the United

 States District Court for the Eastern District of Pennsylvania, that this Court accept jurisdiction of

 this action, and that this action be henceforth placed on the docket of the Court for all further

 proceedings as though this action had been originally instituted and commenced in this Court.



                                                    Respectfully submitted,

                                                    /s/ Rachel Fendell Satinsky
                                                    Rachel Fendell Satinsky, Esquire (308751)
                                                    Aaron J. Creuz, Esquire (322992)
                                                    LITTLER MENDELSON, P.C.
                                                    Three Parkway
                                                    1601 Cherry Street, Suite 1400
                                                    Philadelphia, PA 19102.1321
                                                    267.402.3000 (t)
                                                    267.402.3131 (f)
                                                    rsatinsky@littler.com
                                                    acreuz@littler.com



Dated: January 25, 2021




                                                   5
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                               CERTIFICATE OF SERVICE

       I, Rachel Fendell Satinsky, hereby certify that on this 25th day of January, 2021, I caused

the foregoing Notice of Removal to be served, via email, upon the following:

                                     Timothy Creech, Esq.
                                    Creech & Creech LLC
                                1835 Market Street, Suite 2626
                                    Philadelphia, PA 19103
                                timothy@creechandcreech.com
                                     Attorney for Plaintiff


                                                    /s/ Rachel Fendell Satinsky
                                                    Rachel Fendell Satinsky




                                                6
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          EXHIBIT A
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Rachel Fendell Satinsky, Esquire
Aaron J. Creuz, Esquire
LITTLER MENDELSON, P.C.
Three Parkway
1601 Cherry Street, Suite 1400
Philadelphia, PA 19102.1321
267.402.3000 (t)                                   Attorneys for Defendant
267.402.3131 (f)                                   Morrison Healthcare, Inc.
rsatinsky@littler.com
acreuz@littler.com


                                               :
CHARLES WASHINGTON,                            :   COURT OF COMMON PLEAS
                                               :   PHILADELPHIA COUNTY
               Plaintiff,                      :   CIVIL ACTION – LAW
                                               :
       v.                                      :   No. 01757
                                               :   Docket No. 200801757
MORRISON HEALTHCARE, INC.,1                    :
                                               :
               Defendant.                      :
                                               :
                                               :

                       NOTICE OF FILING OF NOTICE OF REMOVAL

 TO:    Timothy Creech, Esq.
        Creech & Creech LLC
        1835 Market Street, Suite 2626
        Philadelphia, PA 19103
        timothy@creechandcreech.com

        PLEASE TAKE NOTICE that a Notice of Removal of this action from the Court of

 Common Pleas of Philadelphia County, Pennsylvania, to the United States District Court for the

 Eastern District of Pennsylvania was duly filed on January 25, 2021 in the United States District




 1 Morrison Healthcare, Inc. is an improper defendant. The proper defendant is Morrison
 Management Specialists, Inc. Morrison Management Specialists, Inc. proceeds as if it was the
 properly named defendant.
          Case 2:21-cv-00335-KSM Document 1 Filed 01/25/21 Page 11 of 28



 Court for the Eastern District of Pennsylvania. A true and correct copy of the Notice of Removal

 is attached hereto as Exhibit A.

        In accordance with 28 U.S.C. § 1446, this Notice, together with the Notice of Removal

 filed in the United States District Court for the Eastern District of Pennsylvania, has effected a

 removal of this action from the Court of Common Pleas of Philadelphia County, Pennsylvania, to

 the United States District Court for the Eastern District of Pennsylvania.     This Court should

 proceed no further unless this case is remanded.


Dated: January 25, 2021                             Respectfully submitted,

                                                    /s/ Rachel Fendell Satinsky
                                                    Rachel Fendell Satinsky, Esquire (308751)
                                                    Aaron J. Creuz, Esquire (322992)
                                                    LITTLER MENDELSON, P.C.
                                                    Three Parkway
                                                    1601 Cherry Street, Suite 1400
                                                    Philadelphia, PA 19102.1321
                                                    267.402.3000 (t)
                                                    267.402.3131 (f)
                                                    rsatinsky@littler.com
                                                    acreuz@littler.com




                                                    2
        Case 2:21-cv-00335-KSM Document 1 Filed 01/25/21 Page 12 of 28




                                CERTIFICATE OF SERVICE

       I, Rachel Fendell Satinsky, hereby certify that on this 25th day of January, 2021, I caused

the foregoing Notice of Filing of Notice of Removal to be served, via email, upon the following:

                                      Timothy Creech, Esq.
                                     Creech & Creech LLC
                                 1835 Market Street, Suite 2626
                                     Philadelphia, PA 19103
                                 timothy@creechandcreech.com
                                     Attorneys for Plaintiff


                                                    /s/ Rachel Fendell Satinsky
                                                    Rachel Fendell Satinsky
Case 2:21-cv-00335-KSM Document 1 Filed 01/25/21 Page 13 of 28
          Case 2:21-cv-00335-KSM Document 1 Filed 01/25/21 Page 14 of 28
9. Approximate medical bills to date: $__________________________________________________

10. Approximate medical bills recoverable in this case: $____________________________________

11. Are there any existing liens (Workers’ Compensation, DPW, Medical, etc.)?       Yes____ No____

   If yes, what type and approximate amount?____________________________________________

12. Time lost from work: _____________________________________________________________

13. Approximate past lost wages: ______________________________________________________

14. Is there a claim for future lost earning capacity?       Yes____   No____

   If yes, approximate future lost earning capacity: ________________________________________

15. Are there any related cases or claims pending?           Yes____   No____

   If so, list caption(s) and docket number(s) or other appropriate identifier(s): _________________
   ______________________________________________________________________________
   ______________________________________________________________________________
16. Do you anticipate joining additional parties?            Yes____   No____

17. Set forth a summary of facts giving rise to cause(s) of action: ______________________________

   _______________________________________________________________________________

   _______________________________________________________________________________

18. Set forth a summary of facts in support of applicable defense(s) or any counterclaim: ___________

   _______________________________________________________________________________

   _______________________________________________________________________________

19. Defense position as to causation of injuries alleged: _____________________________________

20. Identify all applicable insurance coverage:

        Defendant                         Insurance Carrier               Coverage Limits
        ______________________            ______________________          _______________________
        ______________________            ______________________          _______________________
21. Are there issues as to the applicability of the above insurance coverage?    Yes____ No____

22. Demand: $_______________________                         Offer: $___________________________




                                                         2
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                                                    Part B
                       (to be completed in all cases other than personal injury)
                                   August 19, 2019
1. Date of contract or transaction:____________________________________________________

2    Date of birth of your client: ___________________ Age on date of transaction: ____________
                                                              Unknown ____                         X
                                                                                 Decline to provide_____
NOTE: Date of birth information is intended for the Court's use only. The information will not be made
available to the public.

3.   Is there a writing?   Yes____      No____

     If yes, is there an allegation that the writing does not contain the entire agreement of the parties?

                                                                                     Yes____      No____

4.   Is the Uniform Commercial Code applicable to this case?                         Yes____        X
                                                                                                  No____

5.   Set forth a summary of facts giving rise to the cause of action:
     This is a “ban the box” and sexual harassment case.Plaintiff disclosed his criminalconvictions
     _____________________________________________________________________________
      and was hired. Plaintiff’s supervisor made sexual advances on Plaintiff, which were rejected.
     _____________________________________________________________________________
     In retaliation, the supervisor terminated Plaintiff, ostensibly due to the criminal convictions.
     _____________________________________________________________________________
6. Are there any related cases or claims pending?             Yes____        X
                                                                           No____
                                                                                     N/a.
     If so, list caption(s) and docket number(s) or other appropriate identifier(s): _________________
     ______________________________________________________________________________
     ______________________________________________________________________________
7. Specific questions regarding ejectment and other property matters:
                                                                             N/a.
     (a) How did plaintiff obtain title (Sheriff sale, deed transfer, etc.)? _________________________
                                                  N/a.
     (b) Date of Sheriff’s sale or deed transfer: ____________________________________________
                                   N/a.
     (c) Date of deed’s recording: ______________________________________________________
                                                                          N/a.
     (d) Was a copy of the deed filed with the complaint, if not explain? _______________________
         __________________________________________________________________________
                                             N/a.
     (e) Was there ever a lease, if so when? ______________________________________________
8.   State the amount of damages claimed by Plaintiff:

     (a) Direct_____________________________________________________________________
     (b) Consequential_______________________________________________________________
     (c) Other (specify) ______________________________________________________________
9.   Set forth a summary of facts in support of applicable defense(s) or any counterclaim:

     _____________________________________________________________________________
     _____________________________________________________________________________
     _____________________________________________________________________________
                                                        3
           Case 2:21-cv-00335-KSM Document 1 Filed 01/25/21 Page 16 of 28



10.    If there is a counterclaim, state the amount of damages sought:
                N/a.
      (a) Direct_____________________________________________________________________
                       N/a.
      (b) Consequential______________________________________________________________
                          N/a.
      (c) Other (specify) _____________________________________________________________

11. Identify all applicable insurance coverage:

         Defendant                        Insurance Carrier              Coverage Limits
         Morrison Health Care
         ______________________           ______________________         ______________________
         ______________________           ______________________         ______________________
              > 50,000.00
12. Demand: $___________________________                          0.00
                                                          Offer: $_____________________________

                                                                                   FORM 01-105 rev 11/27/18




                                                      4
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By: TIMOTHY P. CREECH, ESQ. (81728)
1835 Market St., Suite 2626
Philadelphia, PA 19103-3699
 (215) 575-7618
timothy@attorneycreech.com                  Counsel for Plaintiff

                    COURT OF COMMON PLEAS OF PHILADELPHIA
                     FIRST JUDICIAL DISTRICT OF PENNSYLVANIA

                                         :
 CHARLES WASHINGTON,                     :
                                         :
                              Plaintiff, :                                  NO:    200801757
                                         :
      v.                                 :
                                         :
 MORRISON HEALTH CARE, INC.              :
                                         :
                            Defendant. :


                                  CERTIFICATE OF SERVICE

       TIMOTHY P. CREECH, ESQ., certifies that he caused a true and correct copy of the

Plaintiff’s Case Management Conference Memorandum to be sent on this date via regular first-class

mail to the following:

Morrison Health Care, Inc.
400 Northridge Rd., Ste: 600
Atlanta, GA 30350


                                                     CREECH & CREECH LLC


                                                     /s/ Timothy P Creech
                                                     TIMOTHY P. CREECH

DATED:         January 20, 2021
           Case 2:21-cv-00335-KSM Document 1 Filed 01/25/21 Page 18 of 28


From:            scheduling.notices@courts.phila.gov
To:              Timothy Creech
Subject:         Notice of Court Event
Date:            Wednesday, January 13, 2021 6:11:04 PM




IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
TRIAL DIVISION - CIVIL




TIMOTHY CREECH
CREECH & CREECH LLC
1835 MARKET ST., SUITE 2626
PHILADELPHIA, PA 19103


WASHINGTON VS MORRISON HEALTH CARE, INC.
200801757


SCHEDULING ORDER


AND NOW, JANUARY 13, 2021, it is hereby Ordered that:

1. A Case Management Order will be issued on January 28, 2021,
after 09:00 A.M., subsequent to a review by a civil case manager
of the electronic court record, civil docket, and case management
memoranda in 613, City Hall, Philadelphia, PA 19107.

2. Counsel for Plaintiff is directed to serve a copy of this
Order on any unrepresented party or any attorney entering an
appearance subsequent to the issuance of this Order.

3. Attendance by all counsel of record and unrepresented is
waived. No Case Management Conference will be held in Room 613
City Hall.

4. Failure to file a Complaint or effectuate service of process
prior to the Case Management Order issuance date may result in
issuance of a Rule to Show Cause.
        Case 2:21-cv-00335-KSM Document 1 Filed 01/25/21 Page 19 of 28


5. Five (5) days prior to the Case Management Order issuance
date, all parties are required to electronically file with the
Court and serve upon all opposing counsel and/or opposing parties
not electronically served by the court a fully completed Case
Management Memorandum. To electronically file the Case
Management Memorandum, access the "Existing Case" section of the
court's electronic electronic filing system. Select "Conference
Submissions" as the filing category. Select "Management
Memorandum" as the filing type.

6. The Conference will be conducted by a Civil Case Manager who
shall act on behalf of the Honorable KAREN SHREEVES-JOHNS.

7. This case has been presumptively assigned to the MAJOR NON
JURY EXPEDITED Case Management Track. This is subject to
modification by a civil case manager.


SCHEDULING ORDER - Page 2


WASHINGTON VS MORRISON HEALTH CARE, INC.
200801757


8. If the case settles prior to the Case Management Order
issuance date, counsel shall electronically file a settlement
letter. To file the letter electronically, access the "Existing
Case" section of the court's electronic filing system. Select
"Conference Submissions" as the filing category. Select
"Settlement Letter" as the document type.

9. Please direct any questions concerning this Order and its
contents to CivilCaseManagement@courts.phila.gov.

Click the following link to access important documents
related to the scheduled event.
http://www.courts.phila.gov/pdf/forms/civil/CMC-105.pdf


OFFICE OF THE CHIEF DEPUTY
COURT ADMINISTRATOR


DISCLAIMER
-------------------------------------------------------------------
The First Judicial District will use your electronic mail address
and other personal information only for purposes of Electronic
Filing as authorized by Pa. R.C.P. 205.4 and Philadelphia Civil
*Rule 205.4.
         Case 2:21-cv-00335-KSM Document 1 Filed 01/25/21 Page 20 of 28


Use of the Electronic Filing System constitutes an acknowledgment
that the user has read the Electronic Filing Rules and Disclaimer
and agrees to comply with same.

-------------------------------------------------------------------


This is an automated e-mail, please do not respond!
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By: TIMOTHY P. CREECH, ESQ. (81728)
1835 Market St., Suite 2626
Philadelphia, PA 19103-3699
 (215) 575-7618
timothy@attorneycreech.com                      Counsel for Plaintiff

                    COURT OF COMMON PLEAS OF PHILADELPHIA
                     FIRST JUDICIAL DISTRICT OF PENNSYLVANIA

                                         :
 CHARLES WASHINGTON,                     :
                                         :
                              Plaintiff, :                                       NO:     200801757
                                         :
      v.                                 :
                                         :
 MORRISON HEALTH CARE, INC.              :
                                         :
                            Defendant. :


                                   CERTIFICATE OF SERVICE

        TIMOTHY P. CREECH, ESQ., certifies that he caused a true and correct copy of the January

13, 2021 Scheduling Order to be sent on this date via regular first-class mail to the following:

Morrison Health Care, Inc.
400 Northridge Rd., Ste: 600
Atlanta, GA 30350


                                                         CREECH & CREECH LLC


                                                         /s/ Timothy P. Creech
                                                         TIMOTHY P. CREECH

DATED:          January 20, 2021
        Case 2:21-cv-00335-KSM Document 1 Filed 01/25/21 Page 22 of 28
                                                   NOTICE TO PLEAD TO:
                                                   MORRISON HEALTHCARE, INC.

CREECH & CREECH LLC                                You are hereby notified to file a written response to the
                                                   enclosed Amended Complaint within twenty (20) days of
By: TIMOTHY P. CREECH, ESQ. (81728)                service hereof or a judgment may be entered against you.
1835 Market St., Suite 2626
Philadelphia, PA 19103-3699
                                                   TIMOTHY P. CREECH, ESQ.
(215) 575-7618; Fax: (215) 575-7688
timothy@creechandcreech.com                             Counsel for Plaintiff

                   COURT OF COMMON PLEAS OF PHILADELPHIA
                    FIRST JUDICIAL DISTRICT OF PENNSYLVANIA


                                         :
 CHARLES WASHINGTON                      :
                                         :                               August Term 2020, No: 01757
                     Plaintiff/Employee, :
                                         :
     v.                                  :
                                         :
 MORRISON HEALTHCARE INC.,               :
                                         :
                  Respondent/Employer. :
                                         :

                                           COMPLAINT

                               INTRODUCTION AND PARTIES

       Plaintiff Charles Washington by and through his undersigned attorney, submits the following

Amended Complaint.

   1. This complaint involves actions that were taken against Plaintiff. Plaintiff lives at the following

address: 6399 P.O. Box., Philadelphia 19139.

   2. This complaint involves actions taken by Morrison Healthcare, Inc., c/o Corporate Counsel

for Compass Group USA Inc. located at 2400 Yorkmont Road, Charlotte, North Carolina 2821.

   3. Plaintiff was hired for the position of Cook II on December 23, 2016.

   4. The duties of the job include food preparation.
         Case 2:21-cv-00335-KSM Document 1 Filed 01/25/21 Page 23 of 28



                                          JURISDICTION

        5.      Defendant is covered by the Fair Criminal Records Screening Standards, a Philadelphia

ordinance that is enforceable in this Court.

        6.      Defendant is also covered by the Philadelphia the Pennsylvania Human Relations Act,

Pa. Stat. Ann. tit. 43, § 951 et seq. (the “PHRA”); the Philadelphia Fair Practices Ordinance (“PFPO”);

and the Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e et. seq. (“Title VII”).

        7.      On June 18, 2020, the EEOC issued a Notice of Right to Sue (Issued on Request) on

Charge No.: 846-2020-11908. This action was timely commenced by Writ of Summons within 90

days of such notice.

        8.      On January 4, 2020, the PCHR issued “Information about the Right to Sue in State

Court” on PCHR Complaint No: 2019-10-02-2254. This action is timely commenced by this

Complaint within 90 days of such notice.

        9.      The conduct took place within the city of Philadelphia at Penn Presbyterian Medical

Center at the following address: 51 North 39th Street Philadelphia PA 19104.

        10.     The actions taken were against Plaintiff, 300 days from filing Complaint.

                                               COUNT I

        FAILURE TO CONDUCT INDIVIDUAL ASSESSMENT RESULTING IN

                                          TERMINATION

    11. Plaintiff was terminated on August 19, 2019 after two and a half years of successful

employment in the position of Cook II.

    12. Defendant erred in concluding that Plaintiff record makes him an unacceptable risk to the

operation of the business or to co-workers or customers.

        A. Nature of the offense:
 Case 2:21-cv-00335-KSM Document 1 Filed 01/25/21 Page 24 of 28



    I.    In 2015, Plaintiff was convicted of sex-related offenses, all of which are

          misdemeanors. am not permitted to have unsupervised contact with minors.

B. Time that has passed since the offense.

     I.   Plaintiff has had no convictions since 2015.

C. Plaintiff employment history before and after the offense:

     I.   From 2015 to 2016 Plaintiff was employed by a staffing agency as a temporary

          worker at Penn Presbyterian Medical Center.

    II.   Because of Plaintiff’s good performance on the job, in December 2016 he was hired

          by Defendant on a full-time, permanent basis. Defendant was aware of his

          conviction history.

   III.   Defendant conducted a background check and found Plaintiff eligible to work.

   IV.    As a full-time permanent employee, Plaintiff continued to perform the duties of his

          job in a satisfactory manner.

D. The particular duties of the job:

     I.   The job of Cook II involves food preparation. Plaintiff’s position was located in

          the basement of building where the Atwood Cafeteria is located.

    II.   The job does not involve unsupervised contact with minors.

   III.   Beginning in or around January 2018 Sous Chef Marisa Genovese, Supervisor

          began telling Plaintiff’s co-workers and employees in other departments about his

          conviction history. Genovese also began disseminating Plaintiff’s photograph and

          conviction history to his co-workers and employees in other departments.

   IV.    In 2018 Genovese began bringing her daughter, who appeared to be approximately

          4 years old, into the workplace. On many occasions Genovese left her daughter
         Case 2:21-cv-00335-KSM Document 1 Filed 01/25/21 Page 25 of 28



                   alone in the office and in other places where Plaintiff would go during the normal

                   course of the workday. Plaintiff deliberately did not go anywhere near the child.

            V.     Shortly thereafter Plaintiff accepted another Cook II job in a different location to

                   get away from Genovese. Plaintiff’s new job was located in the cafeteria, on the

                   main floor of same building.

           VI.     Genovese scrutinized Plaintiff’s work more closely than other similarly situated

                   employees.

    13. On August 19, 2019, the new Kitchen Director, Joshua Wenger terminated Plaintiff on the

basis of his conviction history. Wenger stated Morrison did not hire felons and that Morrison's legal

department made a mistake.

            a. Morrison's legal department did not make a mistake. Plaintiff properly passed

                 Defendant’ background check.

            b. Plaintiff does not have any felony convictions.

            c. Plaintiff performed his job in a satisfactory manner at all times.

    14. As a direct and proximate result of Defendant’s misconduct, Plaintiff suffered injury, including

but not limited to lost back pay, lost front pay, lost benefits, severe emotional distress, sleeplessness,

anxiety, and other psychic harm.

    15. Defendant’s misconduct was willful, wanton, reckless and outrageous.

        WHEREFORE, Plaintiff demands judgment against Defendant in an amount greater than

$50,000 for all damages suffered, punitive damages, reasonable attorney’s fees and costs, declaratory

judgment, equitable relief, plus such other relief as this Court deems just and proper.

                                              COUNT II

           SEX DISCRIMINATION/SEXUAL HARASSMENT/RETALATION

    16. Repeats and realleges paragraphs 1-13 as if set forth at length herein.
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17. Plaintiff is a homosexual male.

18. Plaintiff’s supervisor, Genovese, made unwelcome sexual advances toward Plaintiff.

19. Plaintiff rejected those advances.

20. Genevese retaliated against Plaintiff for rejecting those advances.

21. The reason why Plaintiff’s criminal history was brought up (after Plaintiff had been hired and

      had performed his work as described above) was in retaliation for Plaintiff’s rejection of

      Genovese.

22. Genovese held, at all times, respondeat superior authority at Defendant’s employ. In the

      alternative, Genovese used her supervisory role to influence those with respondeat superior

      liability to take adverse actions against Plaintiff.

23. Respondent’s conduct toward Plaintiff constitutes quid pro quo harassment.

24. Defendant caused Plaintiff to suffer adverse employment actions that affected Plaintiff’s

      employment in a serious and tangible way with respect to Plaintiff’s compensation terms,

      conditions and/or privileges of employment, as is set forth above and incorporated herein by

      reference.

25. Plaintiff’s sexual orientation, homosexual, was a motivating factor or alternatively, a

      determinative factor in discriminating against Plaintiff.

26. Claimant was subjected to severe incidents of sexual harassment. In addition, or in the

      alternative, Claimant was subjected to pervasive incidents of sexual harassment.

27. As a direct and proximate result of Respondent’s discrimination, Claimant suffered injury, as

      set forth above and incorporated herein by reference.

28.

29. Respondent’s conduct was knowing, intentional, willful, wanton, reckless and outrageous.
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        WHEREFORE, Plaintiff demands judgment against Defendant in an amount greater than

$50,000 for all damages suffered, punitive damages, reasonable attorney’s fees and costs, declaratory

judgment, equitable relief, plus such other relief as this Court deems just and proper.



                                                         Respectfully submitted,


                                                         CREECH & CREECH LLC


                                                         /s/ Timothy P. Creech
                                                         TIMOTHY P. CREECH

DATED:          January 20, 2021



                                   CERTIFICATE OF SERVICE

        TIMOTHY P. CREECH, ESQ., certifies that he caused a true and correct copy of the

Plaintiff’s Complaint to be sent on this date via regular first-class mail to the following:

Morrison Health Care, Inc.
400 Northridge Rd., Ste: 600
Atlanta, GA 30350


                                                         CREECH & CREECH LLC


                                                         /s/ Timothy P. Creech
                                                         TIMOTHY P. CREECH

DATED:          January 20, 2021
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